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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
  GEORGE SANTOS,

                                 Plaintiff,
                                                         Case No. 1:24-cv-01210-DLC
         -v-

  JAMES C. KIMMEL a/k/a JIMMY KIMMEL,
  AMERICAN BROADCASTING COMPANIES
  INC., and THE WALT DISNEY COMPANY,


                                 Defendants.


                 PLAINTIFF GEROGE SANTOS’ NOTICE OF APPEAL

       NOTICE IS HEREBY GIVEN that Plaintiff GEORGE SANTOS appeals to the United

States Court of Appeals for the Second Circuit from a final judgment dismissing Plaintiff’s

causes of action upon the granting of defendants’ motion to dismiss the First Amended

Complaint, entered in this action on August 19, 2024 (see ECF 29 & 30), and from any and all

adverse interlocutory orders, judgments, decrees, decisions, rulings, and opinions that merged

into and became part of the Judgment, that shaped the Judgment, that are related to the

Judgment, or upon which the Judgment is based.

Dated this 20th day of August, 2024.

                                                            Mancilla & Fantone, LLP

                                                       By: Robert Fantone
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                                CERTIFICATE OF SERVICE

       I, Robert M. Fantone, hereby certify that on August 20, 2024, I served a true and correct

copy of the foregoing PLAINTIFF GEORGE SANTOS’ NOTICE OF APPEAL on counsel of

record via electronic filing.



                                                    /s/    Robert Fantone
                                                    Robert Fantone
